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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       CRIMINAL NO. 21-CR-378-3 (TJK)
                                             :
EDWARD GEORGE, JR.                           :
                                             :
                      Defendant.             :
                            GOVERNMENT’S OPPOSITION TO
                          DEFENDANT’S MOTION TO CONTINUE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully opposes Defendant Edward George, Jr.’s Motion for

Continuance of Pretrial Motions Hearing and Trial, ECF No. 218. No material change to the facts

or law at issue in this case have occurred since the Court set trial to begin December 9, 2024, and

the government remains prepared to present its case on that date. The Court should therefore deny

the defendant’s motion.

       There is a public interest in the prompt and efficient administration of justice. The

government and the Court have endeavored to deliver that interest. The government disagrees that

a continuance is warranted here, and the Court should proceed as it would in any other prosecution.

See, e.g., United States v. Jaimee Avery, 24-cr-00079 (CRC), November 6, 2024 Minute Order

(denying continuance of sentencing hearing based on claim of potential clemency); United States

v. Nicholas Fuller, No. 23-cr-209 (CKK), Nov. 6, 2024 Minute Entry (denying motion to continue

sentencing hearing based on claim of potential clemency); United States v. Carnell, et al., No. 23-

cr-139 (BAH), Nov. 6, 2024 Minute Order (denying motion to continue status conference based

on claim of potential clemency); United States v. Bosch, No. 24-cr-210 (DLF), Nov. 7, 2024

Minute Order (denying motion to continue trial based on claim of potential clemency); United

States v. Lichnowski, 23-cr-341 (RBW), November 7, 2024 Minute Order (denying motion to
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continue sentencing hearing based on claim of potential clemency); United States v. Stephen

Michael Baker, 24-cr-121 (CRC), November 11, 2024 Minute Order (denying motion to continue

trial based on claim of potential clemency).

       Here, George is charged with two felony counts, including an assault on an officer of the

United States Capitol Police as George attempted to breach a police line to gain access to the

Capitol building. See also ECF 190 at 4-9 (summarizing George’s criminal conduct at the Capitol).

George later celebrated his assault, texting a friend, “We fought the cops” and “Fucking traitors”

and, later, “Revolution.” Id. at 6. This Court should not countenance any further delay in the

administration of justice in this case.

       For the foregoing reasons, the Court should deny the defendant’s motion to continue and

proceed with trial on December 9, 2024.

                                                     Respectfully submitted,

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